                Case 2:21-cv-01428-JLR Document 23 Filed 11/16/21 Page 1 of 3



1    Alexander A. Fay, Esq. (Admitted Pro Hac Vice)                   Judge James L. Robart
     Schuckit & Associates, P.C.
2
     4545 Northwestern Drive
3
     Zionsville, IN 46077
     Telephone: (317) 363-2400
4    Facsimile: (317) 363-2257
     E-Mail: afay@schuckitlaw.com
5
     Lead Counsel for Defendant Trans Union, LLC
6

7
     Benjamin I. VandenBerghe, Esq., WSBA #35477
8    Christopher M. Reed, Esq., WSBA #49716
     Montgomery Purdue Blankinship & Austin PLLC
9    5500 Columbia Center
     701 Fifth Avenue
10
     Seattle, WA 98104-7096
11   Telephone: 206-682-7090
     Fax: 206-625-9534
12   E-Mail: biv@montgomerypurdue.com
              creed@montgomerypurdue.com
13
     Local Counsel for Defendant Trans Union, LLC
14

15
                          UNITED STATES DISTRICT COURT
16                   WESTERN DISTRICT OF WASHINGTON (SEATTLE)

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     JERRI & LEE RICHARDSON,                          CASE NO. 2:21-cv-01428-JLR
18
         Plaintiffs,
19
          vs.                                         NOTICE OF WITHDRAWAL OF PRO
20                                                    HAC VICE ADMISSION OF
     PLANET HOME LENDING, LLC, a                      ALEXANDER A. FAY
21   Delaware Corporation; TRANS UNION LLC,
     a Delaware Limited Liability Company;
22
     EXPERIAN INFORMATION SOLUTIONS,
23   INC., an Ohio Corporation; and EQUIFAX
     INFORMATION SERVICES LLC, a Georgia
24   Limited Liability Company;
          Defendants.
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     NOTICE OF WITHDRAWAL - 1                               SCHUCKIT & ASSOCIATES, P.C.
                                                                  4545 NORTHWESTERN DRIVE
     2:21-cv-01428-JLR                                                ZIONSVILLE, IN 46077
                                                                        (317) 363-2400 TEL
                                                                        (317) 363-2257 FAX
              Case 2:21-cv-01428-JLR Document 23 Filed 11/16/21 Page 2 of 3



1           Comes now Alexander A. Fay and hereby notifies this Court of the withdrawal of his pro
2
     hac vice admission for Defendant Trans Union, LLC. Pursuant to LCR 83.2(b)(2), Trans Union,
3
     LLC will continue to be represented in this matter by Kari A. Morrigan, Esq. of the law firm of
4
     Schuckit & Associates, P.C. and Benjamin VandenBerghe, Esq. and Christopher M. Reed of the
5
     law firm of Montgomery Purdue Blankinship & Austin, PLLC.
6

7
                                                 Respectfully submitted,

8                                                SCHUCKIT & ASSOCIATES, P.C.

9
                                                 s/ Alexander A. Fay
10
                                                 Alexander A. Fay, Esq.
11                                                (admitted Pro Hac Vice)

12                                               Counsel for Defendant Trans Union, LLC

13                                               Benjamin I. VandenBerghe, Esq.
                                                  WA State Bar No. 35477
14
                                                 Christopher M. Reed, Esq.
15                                                WA State Bar No. 49716

16                                               Local Counsel for Defendant Trans Union, LLC

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     NOTICE OF WITHDRAWAL - 2                                 SCHUCKIT & ASSOCIATES, P.C.
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                                                                           (317) 363-2400 TEL
                                                                           (317) 363-2257 FAX
               Case 2:21-cv-01428-JLR Document 23 Filed 11/16/21 Page 3 of 3



1                                     CERTIFICATE OF SERVICE

2         The undersigned hereby certifies that a copy of the foregoing has been filed electronically
3
     on the 16th day of November, 2021. Notice of this filing will be sent to the following parties
4
     by operation of the Court’s electronic filing system. Parties may access this filing through the
5
     Court’s electronic filing.
6
     SaraEllen Hutchison, Esq.                         Angela M. Taylor, Esq.
7
     saraellen@sarellenhutchison.com                   angelataylor@jonesday.com
8    Rachel Groshong, Esq.                             Kari A. Morrigan, Esq.
     Rachel.groshong@stoel.com                         kmorrigan@schuckitlaw.com
9
          The undersigned further certifies that a true copy of the foregoing was served on the
10
     following parties via First Class, U.S. Mail, postage prepaid, on the 16th day of November, 2021,
11

12   properly addressed as follows:

13   None.
14

15
                                                  s/ Alexander A. Fay
16                                                Alexander A. Fay, Esq.
                                                   (admitted Pro Hac Vice)
17
                                                  Lead Counsel for Defendant Trans Union, LLC
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     NOTICE OF WITHDRAWAL - 3                                  SCHUCKIT & ASSOCIATES, P.C.
                                                                      4545 NORTHWESTERN DRIVE
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                                                                            (317) 363-2400 TEL
                                                                            (317) 363-2257 FAX
